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                         Sustainable Reform for the Puerto Rico Police Bureau
                                     Condado Town Hall Meeting
                                      Tuesday, February 26, 2019


        Time                      Name                  Association           Topic of Presentation



7:00 p.m. – 7:03 p.m.       Alfredo Castellanos       Federal Monitor’s       Opening Statement and
                              Bayouth, Esq.                Office              Rules of Proceedings

7:04 p.m. – 7:09 p.m.      Mr. Arnaldo Claudio        Federal Monitor           Opening Statement

7:10 p.m. – 7:13 p.m.     Mr. Luis Saucedo, Esq.          USDOJ                 Opening Statement



7:14 p.m. – 7:17 p.m.     Ms. María Domínguez,       Legal Representation       Opening Statement
                           Esq. or designated       of the Commonwealth
                              representative             of Puerto Rico

7:18 p.m. – 7:24 p.m.       Ms. Karen Schneck       Condado Community             Beach Security

7:26 p.m. – 7: 32 p.m.    Dr. Eduardo Rodríguez     Condado Community         Psychological Help for
                                                                                   Police Officers

7:34 p.m. – 7:40 p.m.      Ms. María Procaccino     Condado Community         Conversational English
                                                                             Lessons for Police Officers

7:42 p.m. – 7:48 p.m.    Mr. Segismundo Gutierrez   Miramar Community        Problems with abandoned
                                                                            houses in the area, homeless
                                                                            people and business permits

7:50 p.m. – 7:56 p.m.    Ms. Ana María Guzmán        Luis Lloréns Torres         Business Permits
                                                        Community

7:58 p.m. – 8:04 p.m.       Mr. John Paul Lugo        Punta Las Marías       Probems with abandoned
                                                        Community               houses in the area

8:06 p.m. – 8:12 p.m.        Ms. María Pabón           Puerta de Tierra     Problems regarding security,
                                                        Community              homeless people and
                                                                            abandoned houses in the area
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8:14 p.m. – 8:17 p.m.     Mr. Roberto Cacho        Hard Rock Café in     Concerns as a merchant in
                                                       Condado                   the area

8:19 p.m. – 8:25 p.m.    Reserved for Business        Calle Loíza        Concerns as a merchant in
                        owner from Calle Loíza                                   the area

8:27 p.m. – 8:33 p.m.   Reserved for Potential
                           Guest Speaker

8:35 p.m. – 8:41 p.m.   Reserved for Potential
                           Guest Speaker

8:43 p.m. – 8:49 p.m.   Reserved for Potential
                           Guest Speaker

 8:50 p.m. –8:53 p.m.   Ms. María Domínguez,      Legal Representation      Closing statement
                         Esq. or designated       of the Commonwealth
                            representative
                                                     of Puerto Rico

 8:53 p.m. –8:56 p.m    Mr. Luis Saucedo, Esq.          USDOJ               Closing statement

 8:56 p.m. –8:59 p.m.    Mr. Arnaldo Claudio        Federal Monitor         Closing statement

      9:00 p.m          Mr. Alfredo Castellanos    Federal Monitor’s        Closing statement
                            Bayouth, Esq.               Office
